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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

MALAYA F. DAVIS,                                   §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §   Civil Action No. 1:20-cv-562
                                                   §
CENLAR FSB and CITIMORTGAGE, INC.,                 §   With Jury Demand Endorsed
                                                   §
         Defendants.                               §

                                          COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

         Plaintiff Malaya F. Davis (“Plaintiff”), by and through counsel, for her Complaint against

Defendants Cenlar FSB (“Cenlar”) and CitiMortgage, Inc. (“CitiMortgage”) (Cenlar and

CitiMortgage are collectively referred to as the “Defendants”), states as follows:

                                         I. INTRODUCTION

         1.      Defendant Cenlar, acting as a mortgage servicer for CitiMortgage, the mortgagee,

at all times, engaged in willful, malicious, deceptive and harassing actions against Plaintiff in

furtherance of their efforts to illegally collect a mortgage debt from her when Defendants were

legally forbidden against making any contact with Plaintiff or taking any collection actions against

her, after her surrender of the collateral real property, during the pendency of Plaintiff’s Chapter 7

bankruptcy case, after the debt was discharged as to her personal liability, and after a lawsuit

asserting similar illegal acts had been filed and settled. Defendant(s)’s actions at issue include: 1)

Cenlar sending Plaintiff statements demanding payment in a specified dollar amount due by a date

certain; 2) Cenlar sending Plaintiff letters and other correspondence to coerce payment from her

or actions to result in her payment; and 3) CitiMortgage impermissibly obtaining and using her
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confidential, personal and financial information in her protected credit file and consumer report

with Equifax. Defendant(s)’s actions were taken in accordance with their policies, procedures,

practices and malicious design to illegally profit by taking advantage of unsophisticated

consumers.

       2.     Specifically, Plaintiff claims Defendant(s) violated: 1) Tex. Fin. Code § 392.001 et

seq., known as the Texas Debt Collection Act (“TDCA”); 2) the common law prohibiting invasion

of privacy; 3) the discharge injunction of the United States Bankruptcy Court for the Eastern

District of Texas, Beaumont Division; and 4) Chapter 41, the Consumer Credit Protection Credit

Act, of Title 15 (Commerce and Trade) of the United States Code, specifically, 15 U.S.C. § 1681,

et seq., known as the Fair Credit Reporting Act (“FCRA”) (against CitiMortgage only). Plaintiff

seeks to recover from Defendants actual, statutory, and punitive damages, and legal fees and

expenses.

                                          II. PARTIES

       3.     Plaintiff is a natural person residing in Nacogdoches County, Texas and a

“consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c), and the TDCA, Tex. Fin. Code §

392.001(1).

       4.     Defendant Cenlar is a federal savings bank that may be served by delivering a

summons to its Executive Vice Present, Chief Operations Officer, Robert Lux, 425 Phillips

Boulevard, Ewing, NJ 08618.

       5.     Defendant CitiMortgage is a foreign limited liability company which may be served

by delivering citation to its registered agent, CT Corporation System, 1999 Bryan Street, Suite

900, Dallas, TX 75201.

       6.     Defendant(s) is/are a “creditor,” “debt collector,” and/or “third-party debt

collector” under the TDCA, Tex. Fin. Code §§ 392.001(3)(6) and (7).

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        7.     Defendant(s) is/are a “person,” as defined by the FCRA, 15 U.S.C. § 1681a(b).

        8.     The debt Defendant(s) were attempting to collect from Plaintiff was a “consumer

debt,” as defined by Tex. Fin. Code § 392.001(2).

        9.     Defendant(s) is/are a “user” of consumer credit and other financial information

under the FCRA and a furnisher of consumer credit information to national consumer reporting

agencies Trans Union, LLC (“TransUnion”), Equifax, Inc. (“Equifax”), and/or Experian

Information Solutions, LLC (“Experian”) (collectively the “CRAs”).

                                 III. JURISDICTION AND VENUE

        10.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1334

and 1367 and 15 U.S.C. § 1681p.

        11.    Venue is proper this district, because Defendants transact business in this district,

Plaintiff filed her bankruptcy case in this district, and the conduct complained of occurred in this

district.

                                  IV. FACTUAL ALLEGATIONS

A.      The Subject Debt was Included in Plaintiff’s Bankruptcy Case and Discharged as to
        her Personal Liability.

        12.    On June 14, 2019, Plaintiff filed Chapter 7 bankruptcy in case number 19-90157

(the “Bankruptcy Case”) in the United States Bankruptcy Court for the Eastern District of Texas,

Beaumont Division (the “Bankruptcy Court”).

        13.    On “Schedule D: Creditors Who Have Claims Secured by Property” (“Schedule

D”) filed with her bankruptcy petition, Plaintiff listed a claim for Account Number xxxxxx4179

(the “Account”), identifying Cenlar as the creditor for the debt, related to a mortgage she once had

jointly with her ex-husband, secured by real property located at 1941 Tidwell Rd., Diboll, TX




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75941 (the “Property”), which Plaintiff had permanently vacated prior to filing her Bankruptcy

Case.

        14.    A true and correct copy of Plaintiff’s Schedule “D” is attached hereto as Exhibit

“A.”

        1)     Plaintiff Filed a Notice of Her Surrender of the Collateral Real Property for
               the Debt in her Bankruptcy Case.

        15.    Plaintiff also listed the Property in “Schedule A/B: Property” (“Schedule A/B”) of

her bankruptcy petition, specifying that the Property was “granted to Ex-Husband in Divorce.” As

of May 8, 2019, Plaintiff had no right, title, interest or claim to the Property, as noted in her Final

Decree of Divorce.

        16.    A true and correct copy of relevant portions of Plaintiff’s Schedule A/B is attached

hereto as Exhibit “B” and incorporated herein by reference.

        17.    On June 14, 2019, Plaintiff filed in her Bankruptcy Case a “Statement of Intention

for Individuals Filing Under Chapter 7” (“Statement of Intent”), stating her surrender of the

Property and identifying Cenlar as the creditor for the related claim for which the Property was

collateral.

        18.    A true and correct copy of the Plaintiff’s Statement of Intent is attached hereto as

Exhibit “C.”

        2)     Defendants Received Notice of Plaintiff’s Bankruptcy Case and the Imposition
               of the Automatic Stay, Prohibiting all Collections Against Plaintiff.

        19.    On or about June 19, 2019, the Bankruptcy Noticing Center for the Bankruptcy

Court sent Cenlar notice of Plaintiff’s Bankruptcy Case, by sending Cenlar by first class mail a

copy of the “Notice of Chapter 7 Bankruptcy Case – No Proof of Claim Deadline” (known as a

“341 Notice”). The 341 Notice informed all creditors about Plaintiff’s Bankruptcy Case and the

automatic stay imposed by 11 U.S.C. § 362, noting that “[t]he filing of the case imposed an

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automatic stay against most collection activities.” Also, the 341 Notice stated, in part, “Creditors

cannot demand repayment from debtors by mail, phone, or otherwise.” Further, it informed all

creditors that they cannot try to collect from the debtors by taking any collection actions against

them or their property, noting that “Creditors who violate the stay can be required to pay actual

and punitive damages and attorney’s fees.”

       20.     A true and correct redacted copy of the 341 Notice is attached hereto as Exhibit

“D.”

       21.     The United States Postal Service did not return the 341 Notice sent to Cenlar,

creating a presumption it was received.

       22.     On July 9, 2019, CitiMortgage made an appearance in the Bankruptcy Case and

filed a Notice of Appearance through its counsel.

       3)      The Debt was Discharged as to Plaintiff’s Personal Liability and the Discharge
               Injunction Went into Effect.

       23.     On October 2, 2019 the Bankruptcy Court issued an order granting Plaintiff a

discharge (“Discharge Order”). The Discharge Order followed Official Form 318, including the

explanatory language contained therein about the effect of the discharge. The Discharge Order

discharged Plaintiff from any liability for the debt created by the Account. Included with the

Discharge Order was an explanation of the general injunction prohibiting any attempt to collect

discharged debts, warning all creditors, in conspicuous language, that “Creditors cannot collect

discharged debts” and that “Creditors cannot contact the debtors by mail, phone, or otherwise in

any attempt to collect the debt personally. Creditors who violate this order can be required to pay

debtors damages and attorney’s fees.”

       24.     On October 4, 2019 the Bankruptcy Noticing Center mailed a copy of the Discharge

Order to Defendants by first class mail. These mailings, which were not returned, constituted


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notice to Defendants of the discharge granted in Plaintiff’s Bankruptcy Case and the replacement

of the automatic stay of 11 U.S.C. § 362 with the discharge injunction imposed by 11 U.S.C. §

524(a).

          25.    A true and correct redacted copy of the Discharge Order is attached hereto as

Exhibit “E.”

          26.    At no time during the pendency of Plaintiff’s Bankruptcy Case did Defendants or

any other person or entity object to or dispute the details or completeness of the claim regarding

the Account listed on Schedule “D” to Plaintiff’s Petition.

          27.    At no time did Plaintiff reaffirm the debt on the Account with any person or entity.

          28.    At no time did the Bankruptcy Court declare the debt on the Account to be non-

dischargeable.

          29.    At no time after Plaintiff filed her Bankruptcy Case did she inform Defendants she

had an interest in retaining the surrendered Property.

B.        During Plaintiff’s Bankruptcy Case and after the Debt was Discharged, Plaintiff
          Alleged that Defendant(s) Engaged in Prohibited, Harassing and Deceptive Collection
          Actions Against Plaintiff.

          30.    Plaintiff asserts that following Plaintiff’s initial filing of her bankruptcy petition,

during the pendency of her Bankruptcy Case, and continuing after Plaintiff received a discharge

of the debt on the Account, Defendants engaged in illegal conduct by trying to collect on the

Account from Plaintiff personally and coerce or deceive her into making payments to Defendant(s)

or take actions resulting in her payment on the discharged Account. As a result of this belief,

Plaintiff filed suit in the United States District Court for the Eastern District of Texas, Beaumont

Division, in Civil Action No. 1:20-cv-00109, Malaya F. Davis vs. Cenlar FSB, et. al. (herein called

the “Action”).




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       1)       Plaintiff’s Cease and Desist Request to Defendant(s).

       31.      On at least one occasion, either during the pendency of Plaintiff’s Bankruptcy Case

or soon after receiving her discharge, Plaintiff made a cease and desist request to Cenlar when one

of its representatives called her. Plaintiff requested Cenlar stop calling her and sending her

statements and letters on the Account; yet, Cenlar continued its collection actions against her and

offensive contacts.

       32.      Defendant(s) continued their in personam collection attempts against Plaintiff on

the Account after the debt was discharged as to her personal liability in her Bankruptcy Case, even

though the permanent discharge injunction prohibiting all contacts with Plaintiff to further

collection attempts was in effect.

       33.      On September 3, 2020, Plaintiff and Defendants entered into a settlement

agreement resolving all issues asserted in the Action (the “Settlement”).

       2)       After the Discharge and Settlement of the Action, Cenlar Sent Plaintiff Loan
                Statements and Letters on the Account for Collection Purposes; Some
                Examples of These are in the Following Paragraphs.

       34.      On or about September 25, 2020, Defendant Cenlar sent Plaintiff a letter claiming

that Plaintiff had requested an update to her contact information; however, Plaintiff had made no

such request.

       35.      A true and correct redacted copy of the letter dated September 25, 2020 which

Cenlar sent to Plaintiff is attached hereto as Exhibit “F.”

       36.      On or about October 1, 2020, despite the Settlement of the Action and the clear

understanding that Plaintiff wanted no further contact from the Defendants, Defendant Cenlar sent

Plaintiff a regular Loan Statement misrepresenting that a payment of $17,099.04, including a

$16.25 property inspection fee, was due and owing with a Payment Date of November 1, 2020,

complete with payment coupon and return envelope, stating “Please return this portion with your


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payment” and to “Make Checks Payable To: Cenlar, Central Loan Administration & Servicing,”

that the total Outstanding Principal balance of the Account was $115,456.92, and providing

detailed information about making payments on the reverse side.

       37.     A true and correct redacted copy of the Loan Statement dated October 1, 2020

which Cenlar sent to Plaintiff is attached hereto as Exhibit “G.”

       38.     On or about November 2, 2020, despite the Settlement of the Action and the clear

understanding that Plaintiff wanted no further contact from the Defendants, Defendant Cenlar sent

Plaintiff a regular Loan Statement misrepresenting that a payment of $18,000.23, including a

$16.25 property inspection fee, was due and owing with a Payment Date of December 1, 2020,

complete with payment coupon and return envelope, and stating “Please return this portion with

your payment” and to “Make Checks Payable To: Cenlar, Central Loan Administration &

Servicing,” that the total Outstanding Principal balance of the Account was $115,456.92, and

providing detailed information about making payment on the reverse side.

       39.     A true and correct redacted copy of the Loan Statement dated November 2, 2020

which Cenlar sent to Plaintiff is attached hereto as Exhibit “H.”

       40.     On or about December 1, 2020, despite the Settlement of the Action and the clear

understanding that Plaintiff wanted no further contact from the Defendants, Defendant Cenlar sent

Plaintiff a regular Loan Statement misrepresenting that a payment of $18,901.42, including a

$16.25 property inspection fee, was due and owing with a Payment Date of January 1, 2021,

complete with payment coupon and return envelope, and stating “Please return this portion with

your payment” and to “Make Checks Payable To: Cenlar, Central Loan Administration &

Servicing,” that the total Outstanding Principal balance of the Account was $115,456.92, and

providing detailed information about making payment on the reverse side.




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       41.     Defendant(s) took their post-discharge in personam collection actions against

Plaintiff even after: 1) they knew the debt was discharged in Plaintiff’s Bankruptcy Case; 2) they

knew Plaintiff had surrendered the Property; 3) they knew Plaintiff had not expressed any interest

in retaining the Property after she filed her Bankruptcy Case; 4) they knew Plaintiff had made a

cease and desist request to Cenlar to stop calling her and sending her statements and letters on the

discharged Account; and 5) the Parties had settled the previous Action asserting similar violations

by the Defendant(s).

       42.     To the extent any of the statements or letters at issue contained a message that they

were being sent for informational purposes, the overwhelming format, presentation of letter and

print font size or characteristics, and other representations in the letters or statements and

detachable payment coupons, make it evident that the statements and letters were sent for

collection purposes and to seek payment, either specifically, deceptively or coercively. For

example, the Loan Statements expressly seek from Plaintiff a “Payment Amount,” stated in a

specified dollar amount, by a specific “Payment Date,” and show that other fees and charges have

been or may be assessed to the Account, post-discharge, if the demanded payment was not

received. Also, they include detailed payment instructions.

       3)      Post-Discharge of the Debt, Long After Plaintiff’s Surrender of the Collateral,
               and After Settlement of the Previous Action, CitiMortgage Impermissibly
               Obtained and Used Plaintiff’s Equifax Consumer Report and Plaintiff’s
               Confidential Information Therein.

       43.     On at least three occasions after the debt on the Account had been discharged in

Plaintiff’s Bankruptcy Case and the parties had settled the Action, CitiMortgage impermissibly

accessed Plaintiff’s protected Equifax credit file containing her confidential, personal and financial

information and obtained and used her consumer report(s) from Equifax to further its in personam

collection attempts against Plaintiff on the discharged debt.



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       44.     In order to obtain and use Plaintiff’s consumer reports, CitiMortgage

misrepresented information to Equifax about the status of the discharged Account, representing to

Equifax the Account was open, past due and owing by Plaintiff, and therefore, it had a legally

permissible purpose to conduct account reviews and access Plaintiff’s credit file and obtain her

consumer report. CitiMortgage’s purported permissible purpose, however, was false, because

once the debt on the Account was discharged in Plaintiff’s Bankruptcy, the Account was closed

with a zero-balance due and owing.

       45.     The dates CitiMortgage conducted the impermissible account reviews were:

October 9, 2020, November 10, 2020 and December 14, 2020.

       46.     A true and correct redacted copy of relevant excerpts from Plaintiff’s Equifax credit

report dated December 17, 2020 showing information about CitiMortgage’s impermissible

account review inquiries at issue are attached hereto as Exhibit “I.”

                               V. GROUNDS FOR RELIEF – COUNT I

               TEXAS FINANCE CODE – TEXAS DEBT COLLECTION ACT (TDCA)

       47.     Plaintiff repeats, re-alleges, and incorporates by reference the foregoing

paragraphs, as if fully rewritten here.

       48.     Defendant(s), through all of their post-discharge collection actions at issue, have

violated the Texas Finance Code in numerous ways, including, but not limited to, the following:

               a.      Tex. Fin. Code § 392.301(a)(8), which prohibits Defendants from
                       threatening to take an action prohibited by law. Inasmuch as: 1) the
                       bankruptcy discharge injunction prohibits anyone from attempting
                       to collect debts discharged in bankruptcy in personam; and 2) the
                       common law protects Plaintiff’s privacy rights, Defendant(s)’s
                       actions at issue and demands for payment on the Account from
                       Plaintiff were threats of continued harassing contacts and in
                       personam collection attempts on the discharged debt, which violated
                       the TDCA;




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               b.      Tex. Fin. Code § 392.303(2), which prohibits Defendants from
                       collecting or attempting to collect interest or a charge, fee, or
                       expense incidental to the obligation unless the interest or incidental
                       charge, fee, or expense is expressly authorized by the agreement
                       creating the obligation or legally chargeable to the consumer.
                       Inasmuch as Defendant(s) were attempting to collect from Plaintiff
                       post-discharge, interest and fees Defendant(s) assessed to the
                       Account post-discharge, for example for late fees, property
                       inspection fees or attorneys’ fees, Defendant(s) violated this section
                       of the TDCA;

               c.      Tex. Fin. Code § 392.304(a)(8), which prohibits misrepresenting the
                       character, extent, or amount of Plaintiff’s debt. Defendant(s)
                       misrepresented to Plaintiff that the Account, which had been
                       discharged, was past due, owing and collectible from Plaintiff in
                       post-discharge: statements and correspondences sent to Plaintiff,
                       and on her Equifax credit report in conjunction with the
                       CitiMortgage’s account review inquiries at issue, these were
                       misrepresentations of the character, extent or amount of the subject
                       debt, in violation of the TDCA;

               d.      Tex. Fin. Code § 392.304(12), which prohibits representing that a
                       consumer debt will be increased by the addition of attorney’s fees,
                       investigation fees, service fees, or other charges if a written contract
                       or statute does not authorize the additional fees or charges. Since
                       11 U.S.C. § 524 prohibits Defendants from attempting to collect on
                       the discharged debt on the Account, as Plaintiff was no longer
                       personally liable for it upon discharge, for the same reasons stated
                       in the preceding paragraph (b), above, Defendant(s) violated this
                       section of the TDCA; and

               e.      Tex. Fin. Code § 392.304(a)(19), which prohibits Defendant’s use
                       of false representations or deceptive means to collect a debt, for the
                       reasons stated in the preceding paragraphs (a-d); Defendant(s),
                       through their false representations at issue and deception,
                       intentionally tried to coerce or deceive Plaintiff into paying the
                       discharged debt on the Account, knowing the debt on the Account
                       was discharged in Plaintiff’s Bankruptcy Case, rendering the debt
                       legally uncollectible from Plaintiff in personam.

       49.     Under Tex. Fin. Code Ann. § 392.403, Defendant(s)’s actions make them liable to

Plaintiff for actual damages, statutory damages, injunctive relief, costs, and reasonable attorney’s

fees. Also, Plaintiff’s injuries resulted from Defendant’s malice, actual fraud and/or willful and

intentional misconduct, entitling Plaintiff to punitive damages.


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        50.     Because of Defendant’s conduct, Plaintiff was forced to hire counsel to pursue this

action, and Plaintiff’s recoverable damages include her reasonable attorney’s fees incurred in

prosecuting this claim.

                               VI. GROUNDS FOR RELIEF - COUNT II

                                       INVASION OF PRIVACY

        51.     Plaintiff repeats, re-alleges, and incorporates by reference all previous paragraphs

above, as if rewritten herein their entirety.

        52.     At all pertinent times, Plaintiff had a reasonable and lawful expectation not to be

contacted and harassed by Defendant(s) during her Bankruptcy Case and post-discharge.

        53.     Defendant(s)’s contacts with Plaintiff by sending the subject Loan Statements and

other letters or notices on the Account at issue, as well as CitiMortgage impermissibly accessing

Plaintiff’s protected credit file and consumer reports from Equifax, by conducting the post-

discharge account review inquiries at issue, were invasions of Plaintiff’s private affairs and privacy

rights. These wrongful acts of Defendant(s) caused injury to Plaintiff.

        54.     CitiMortgage impermissibly obtaining Plaintiff’s consumer report(s) from Equifax

were invasions that would be highly offensive to a reasonable person, because Plaintiff’s

confidential, sensitive, personal and financial information was and is included in her Equifax

consumer report(s) and credit file, which CitiMortgage accessed with no permissibly reason. The

information CitiMortgage accessed and obtained about Plaintiff is private, protected, and not for

public dissemination. Post-discharge, Plaintiff had not consented to Defendant(s) pulling her

credit reports or accessing her protected credit files with any of the CRAs, and Defendant(s) had

no permissible purpose to obtain or use her consumer reports post-discharge. The wrongful acts

of CitiMortgage caused injury to Plaintiff.




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        55.     Plaintiff’s expectation not to contacted and harassed by Defendants on the Account

was reasonable and lawful. Plaintiff had surrendered and permanently vacated the Property prior

to filing her Bankruptcy Case and had not expressed any interest in retaining the Property

afterwards. Moreover, the discharge injunction was in place during all times at issue, which

prohibited Defendants from contacting her about the Account seeking collections from her. In

fact, Plaintiff indicated in the Schedule A/B of her bankruptcy petition, that the Property was

awarded to her ex-husband in her prior divorce proceeding and further noticed Defendants in her

Statement of Intent that the Property had been surrendered by her. Moreover, Plaintiff did not

have any other business dealings with Defendants other than the Account.

        56.     Further, the 341 Notice and Discharge Order expressly state that Creditors cannot

contact the debtors by mail, phone, or otherwise in any attempt to collect the debt personally. After

Plaintiff filed her Bankruptcy Case, she also informed Defendant(s) representatives who called her

to stop contacting her.

        57.     Plaintiff’s belief that Defendant(s) would not contact her during the times at issue

was reasonable and justified. Such wrongful acts and contacts by Defendant(s) caused injury to

Plaintiff which resulted in, or further exacerbated, her emotional anguish, mental distress, loss of

time, and inconvenience, as well as other harm.

        58.     Plaintiff’s injuries resulted from Defendant’s malice, which entitles Plaintiff to

exemplary damages under Texas Civil Practice and Remedies Code §41.003(a).

                              VII. GROUNDS FOR RELIEF- COUNT III

                            VIOLATION OF THE DISCHARGE INJUNCTION

        59.     Plaintiff repeats, re-alleges, and incorporates by reference all previous paragraphs

above, as if set forth herein in their entirety.




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       60.     At all material times, Defendant(s) had actual knowledge of Plaintiff’s Bankruptcy

Case and the discharge of the debt on the Account.

       61.     Defendant(s) attempted to collect from Plaintiff personally on the Account and

underlying debt or to coerce Plaintiff to take actions to benefit Defendant(s), as evidenced by

Cenlar sending of the Loan Statements, and other correspondences and notices after she filed her

Bankruptcy Case all after she had surrendered and vacated the Property, informed Defendant(s) of

her surrender, and entered into the Settlement of the Action which had asserted the same or similar

violations. Further evidence of Defendants’ in personam collection attempts against Plaintiff

during the times at issue was that CitiMortgage was conducting impermissible account review

inquiries on Plaintiff and the Account with Equifax, so it could indirectly misrepresent information

to Plaintiff on her credit report regarding its inquiries, reporting as if the Account was still open,

past due and collectible from her, and so CitiMortgage could collect confidential information about

Plaintiff to skip trace her and further Defendants’ in personam collection efforts against her.

       62.     The actions of Defendants constitute harassment and coercive and/or deceptive

actions taken to collect a discharged debt from Plaintiff, in gross violation of the discharge

injunction imposed by 11 U.S.C. § 524(a)(1)-(3).

       63.     Defendant(s)’s failure to comply with the aforesaid laws, in light of being on notice

of Plaintiff’s Bankruptcy Case and discharge, surrender of the collateral Property, and the effect

of the discharge as to the subject debt on the Account, illustrates its contempt for federal law and

the discharge injunction and is a willful violation of the orders and injunctions of the Bankruptcy

Court as they concern the Bankruptcy Case filed by Plaintiff.

       64.     Defendant(s) knowingly and willfully violated the orders and injunctions of the

Bankruptcy Court issued in the bankruptcy filed by Plaintiff. After this prima facie showing by

Plaintiff, the duty falls on Defendants to show, as its only defense, a present inability to comply

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with the orders and injunctions of the Bankruptcy Court, which inability must go beyond a mere

assertion of inability. Failing a showing by Defendants of their present inability to comply with

the orders and injunctions of the Bankruptcy Court, Plaintiff must prevail on her claims, and

Defendants must be held liable for knowingly and willfully violating the orders and injunctions of

the Bankruptcy Court. Any defense put forth by Defendant(s) in this proceeding can only

constitute a good faith exception, as no other reasonable explanation can be made for the conduct

and actions of Defendant(s). Any allegation of a good faith exception should not be allowed.

       65.     Specifically, Defendant(s) violated the part of the Bankruptcy Court’s Discharge

Order issued pursuant to 11 U.S.C. § 524(a)(2) that “operates as an injunction against the

commencement, or continuation of an action, the employment of process, or an act, to collect,

recover or offset any such debt as a personal liability of the debtors, whether or not the discharge

of such debt is waived . . .”

       66.     No exceptions exist under 11 U.S.C. 524 or the other provisions of the United States

Bankruptcy Code or other applicable law that permit the conduct of Defendant(s) at issue with

regard to the discharge injunction, as stated above.

       67.     The orders and injunctions of the Bankruptcy Court cannot be waived, except by

way of a properly filed and approved reaffirmation agreement, motion, stipulation or complaint,

none of which occurred here. No waiver of the orders or injunctions of the Bankruptcy Court has

occurred.

       68.     Also, there is no requirement of mitigation on the part of Plaintiff that is relevant

to Defendant’s violations of the orders and injunctions of the Bankruptcy Court. Any burdening

of Plaintiff with an obligation to police the misconduct of Defendants would be a complete

derogation of the law. It is well-settled that each party to an injunction or order of the Court is

responsible for ensuring its own compliance with the injunction or order and for bearing the cost

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of compliance. Any attempt by Defendants to mount such a defense would constitute a collateral

attack on the injunctions and orders of the Bankruptcy Court in this proceeding, which is

prohibited. Any such defense put forth by Defendants in this case can only constitute a claim of

mitigation, as no other reasonable explanation can be made for the conduct and actions of

Defendants. No defense of failure to mitigate should be allowed.

        69.     Plaintiff has been injured and damaged by Defendants’ actions, and Plaintiff is

entitled to recover judgment against Defendants for actual damages and punitive damages, plus an

award of costs and reasonable attorney’s fees, for Defendants’ violations of 11 U.S.C. § 524 and

pursuant to the Court’s powers under 11 U.S.C. § 105.

                              VIII. GROUNDS FOR RELIEF - COUNT IV

                 FAIR CREDIT REPORTING ACT (FCRA 15 U.S.C. §1681 et seq.)

        70.     Plaintiff repeats, re-alleges, and incorporates by reference all previous paragraphs

above, as if set forth herein in their entirety.

        71.     Plaintiff brings claims against CitiMortgage under the FCRA under 15 U.S.C. §§

1681n and o, entitling Plaintiff to relief against CitiMortgage for damages and attorney’s fees for

obtaining and using Plaintiff’s consumer report under false pretenses or knowingly without a

permissible purpose or negligently failing to comply with the requirements imposed by the FCRA,

respectively.

        72.     Post-discharge of the debt on the Account, CitiMortgage impermissibly accessed

Plaintiff’s credit file with Equifax and obtained and used her consumer report containing her

confidential, personal and financial information by conducting account review inquiries with no

legally permissible purpose. CitiMortgage’s Account Review Inquiries are examples of its

impermissible pulls of Plaintiff’s credit and prohibited action. See attached Exhibit “I.”




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        73.      The FCRA establishes very specific limits as to when and why an entity can obtain

a consumer report:

                 (f) CERTAIN USE OR OBTAINING OF INFORMATION PROHIBITED. – A person shall not
                 use or obtain a consumer report for any purpose unless –
                 (1) the consumer report is obtained for a purpose for which the consumer report is
                     authorized to be furnished under this section; and
                 (2) the purpose is certified in accordance with section 1681e of this title by a
                     prospective user of the report through a general or specific certification.
15 U.S.C. § 1681b (f).

        74.      Section 1681b(a)(3) of the FCRA lists the only purposes for which a consumer

report can be obtained; it states, in relevant part:

                 (a) IN GENERAL. – * * * any consumer reporting agency may furnish a consumer
                 report under the following circumstances and no other:
                                ***
                     (3) To a person which it has reason to believe –
                         (A) intends to use the information in connection with a credit transaction
                          involving the consumer on whom the information is to be furnished and
                          involving the extension of credit to, or review or collection of an account
                          of, the consumer;
                         ***
                         (E) intends to use the information, as a potential investor or servicer, or
                          current insurer, in connection with a valuation of, or an assessment of the
                          credit or prepayment risks associated with, an existing credit obligation; or
                         (F) otherwise has a legitimate business need for the information-
                         ***
              (ii) to review an account to determine whether the consumer continues to meet the
              terms of the account.

See 15 U.S.C. § 1681b (a)(3).

        75.      Section 1681a(d)(1) defines a “consumer report” as:

        (d) CONSUMER REPORT. –

                 (1) IN GENERAL. – The term “consumer report” means any written, oral, or other
                 communication of any information by a consumer reporting agency bearing on a
                 consumer’s credit worthiness, credit standing, credit capacity, character, general


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               reputation, personal characteristics, or mode of living which is used or expected to
               be used or collected in whole or in part for the purpose of servicing as a fact in
               establishing the consumer’s eligibility for-
                  (A) credit or insurance to be used primarily for personal, family, or household
                     purposes;
                  (B) employment purposes; or
                  (C) any other purpose authorized under section 1681(b) of this title.

15 U.S.C. § 1681a (d)(1).

       76.     CitiMortgage furnished false information to Equifax, misrepresenting it had a

legally permissible purpose to conduct an inquiry and review of the Account, so it could gain

access to Plaintiff’s protected credit file with Equifax and impermissibly obtain and use her

confidential, personal and financial information in her consumer report(s).

       77.     CitiMortgage represented to Equifax that its alleged permissible purpose for

conducting the post-discharge reviews on the Account was because the Account was open, due,

owing and collectible from Plaintiff, which was false. At no time had Plaintiff had not sought

credit from CitiMortgage or engaged in any business dealings with CitiMortgage, so there was no

permissible purpose for CitiMortgage to pull Plaintiff’s credit based on these reasons.

Accordingly, there was no permissible purpose for CitiMortgage to obtain and use Plaintiff’s

consumer reports from Equifax which were illegally obtained.

       78.     At all relevant times, CitiMortgage had actual knowledge that after, and as a result

of, the discharge being granted in the Bankruptcy Case, the discharge injunction was in effect,

legally prohibiting CitiMortgage from pursuing any collection against Plaintiff on the discharged

Account.

       79.     CitiMortgage also had actual knowledge Plaintiff had not authorized it to pull her

credit and obtain and use her consumer reports from the CRAs, because there was no longer a

debtor-creditor relationship between Plaintiff and CitiMortgage post-discharge after she



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surrendered the Property. Accordingly, CitiMortgage knew it was prohibited from obtaining and

using Plaintiff’s consumer reports and her confidential and personal information kept therein by

any of the CRAs post-discharge.

       80.     CitiMortgage impermissibly obtaining or using of Plaintiff’s private personal and

financial information held in her consumer reports from the CRAs, when CitiMortgage had actual

knowledge it had no legally permissible purpose to do so, constitutes CitiMortgage’s knowing and

willful violations of the FCRA under, 15 U.S.C. §§ 1681n, or alternatively and at a minimum,

negligent violations under 15 U.S.C. § 1681o.

       81.     Plaintiff believes that, after reasonable discovery, she will be able to prove

CitiMortgage obtained and used Plaintiff’s consumer report(s), and private, personal and financial

information therefrom, for the illegal purpose of attempting to collect on the discharged Account

from Plaintiff personally.

       82.     Plaintiff believes that, after reasonable discovery, she will be able to prove

CitiMortgage used false pretenses, namely the representation(s) it made to Equifax that it intended

to use Plaintiff’s consumer report(s) for a permissible purpose, when, under the FCRA,

CitiMortgage had no such permissible purpose to do so, in order to obtain and use Plaintiff’s

private, personal and financial information for the illegal purpose of attempting to collect the

discharged debt on the Account from Plaintiff personally.

       83.     Plaintiff believes that, after reasonable discovery, she will be able to prove

CitiMortgage is unwilling or unable to prevent its system(s) or agents, from requesting and

obtaining Plaintiff’s consumer report(s) without a permissible purpose to do so, thereby subjecting

Plaintiff to having her private, personal and financial information disclosed to CitiMortgage

without her consent, authorization or other legal justification.




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       84.     As a direct and proximate result of CitiMortgage’s conduct at issue, Plaintiff has

suffered, and will continue to suffer, substantial injury, including, but not limited to, mental

anguish and emotional distress, entitling Plaintiff to an award of actual and statutory damages in

an amount to be proved at trial, plus attorneys’ fees, together with the costs of this action, pursuant

to 15 U.S.C. § 1681n or o.

       85.     The injuries suffered by Plaintiff as a direct result of CitiMortgage impermissibly

obtaining and using Plaintiff’s consumer report(s) post-discharge were attended by circumstances

of fraud, malice, and willful and wanton misconduct, entitling Plaintiff to punitive damages

pursuant to 15 U.S.C. § 1681n(a)(2). Because CitiMortgage ‘s impermissible acquisition and use

of Plaintiff’s consumer report(s) will have a continuing adverse impact on Plaintiff, and because

the violations may be ongoing in nature, CitiMortgage is liable for any and all future harm suffered

by Plaintiff as a result of CitiMortgage’s actionable conduct.

       86.     After being afforded a reasonable time to conduct discovery, Plaintiff believes she

will be able to show that, at all relevant times, CitiMortgage knew, and continues to know, that a

discharge order granted by a U.S. Bankruptcy Court means discharged debts are no longer

collectible from discharged debtors, but CitiMortgage has made a corporate decision to willfully

and maliciously act contrary to this knowledge in its calculated decision to violate its duty and

requirement to furnish accurate information to the CRAs, by furnishing to the CRAs false

information of a purported permissible purpose to access the credit files of and obtain confidential

personal and credit information and consumer reports for discharged consumers, alleging accounts

with discharged debt are open and collectible or that consumers with discharged debt CitiMortgage

is servicing have applied for new credit, when they have not, all to further CitiMortgage’s illegal

in personam collection attempts on discharged debt.




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                       IX. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

       87.     Plaintiff will be able to show, after reasonable discovery, that all actions at issue

were taken by employees, agents, servants, or representatives, of any type, for Defendant(s), the

principal, within the line and scope of such individuals’ (or entities’) express or implied authority,

through employment, agency, or representation, which imputes liability on Defendant(s) for all

such actions under the doctrine of respondeat superior and/or vicarious liability. This includes,

but is not limited to, CitiMortgage being liable for all acts of Cenlar at issue in this matter, as

Cenlar was acting as the servicer of the Account and a duly authorized agent or representative of

CitiMortgage at all times at issue.

                                           X. DAMAGES

       88.     In addition to any damages previously stated hereinabove, the conduct of

Defendant(s) have/has proximately caused Plaintiff past and future monetary loss; past and future

mental distress, emotional anguish and a discernable injury to Plaintiff’s emotional state; and other

damages, evidence for all of which will be presented to the jury. Moreover, dealing with the

consequences of Defendant(s)’s actions has cost Plaintiff’s time and mental energy, which are

precious to her.

       89.     At all relevant times, Defendants knew, and they continue to know, that, pursuant

to a discharge order granted by a U.S. Bankruptcy Court, discharged debts are no longer legally

collectible, but Defendant(s) made a corporate decision to act knowingly, willfully, maliciously,

and contrary to their/its knowledge of bankruptcy law, to attempt to collect on the debt they knew

had been discharged as a result of Plaintiff’s Bankruptcy Case. Defendant(s) had no right to

engage in any of their actions at issue.

       90.     Plaintiff believes that, after reasonable discovery in this case, she will be able to

show that all actions taken by, or on behalf of, Defendant(s) were conducted maliciously,

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wantonly, recklessly, intentionally, knowingly, and/or willfully, with the desire to harm Plaintiff,

with the actual knowledge that such actions were in violation of the law.

       91.     Plaintiff believes that, after reasonable discovery, she will be able to show that

Defendant(s) have been involved in numerous disputes involving complaints about the type of

conduct at issue here; nevertheless, Defendant(s), intentionally and knowingly, have refused to

correct their policies and comply with applicable laws, of which laws they are well-aware.

       92.     Plaintiff believes that, after reasonable discovery, she will be able to show that

Defendant(s) have engaged in a pattern and practice of wrongful and unlawful behavior, in

accordance with their established policies and procedures, with respect to knowingly, willfully,

intentionally, and maliciously attempting to collect on debts included in an active bankruptcy or

discharged in bankruptcy. Accordingly, Defendant(s) are subject to punitive damages, statutory

damages, and all other appropriate measures necessary to punish and deter similar future conduct

by Defendant(s). Moreover, Plaintiff’s injuries resulted from Defendant(s)’s malice, and/or willful

and intentional misconduct, entitling Plaintiff to punitive damages.

       93.     Plaintiff believes that, after reasonable discovery, she will be able to show that

Defendant(s)’s actions at issue were part of Defendant(s)’s illegal design(s), implemented in their

policies and procedures, to profit by harassing unsophisticated debtors and collecting debts that

had been included and discharged in each of debtor’s bankruptcy cases.

       94.     Due to Defendant(s)’s conduct, Plaintiff was forced to hire counsel, and her

damages include reasonable attorney’s fees incurred in prosecuting her claims.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Malaya F. Davis prays the Court:

       A.      Enter judgment in favor of Plaintiff and against Defendants, joint and severally, for

statutory damages, actual damages, costs, and reasonable and necessary attorney’s fees for




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Defendant(s)’s violations of the TDCA, Plaintiff’s privacy rights, and the discharge injunction and

against CitiMortgage for violations of the FCRA;

        B.      Find that appropriate circumstances exist for an award of punitive damages to

Plaintiff;

        C.      Award Plaintiff pre-judgment and post-judgment interest as allowed by law; and

        D.      Grant such other and further relief, in law or equity, to which Plaintiff might show

she is justly entitled.

                                               Respectfully submitted,


                                               /s/ James J. Manchee
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                                               COUNSEL FOR PLAINTIFF

                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues so triable.

December 31, 2020                                       /s/ James J. Manchee
Date                                                    James J. Manchee




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